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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: January 31, 2008


____________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


In re:                                          :            Case No. 04-60904
                                                :
Columbus Microfilm, Inc.                        :            Chapter 7
                                                :
          Debtor                                :            Judge Calhoun
                                                :
                                                 :
Larry J. McClatchey, Trustee                     :
                                                 :
         Plaintiff,                              :         Adv. Pro. No. 07-02788
v.                                               :
                                                 :
Angela Granata                                   :
       and                                       :
Rose Granata                                     :
                                                 :
         Defendants                              :

                               AGREED ORDER OF DISMISSAL

                 Plaintiff, Larry J. McClatchey, Trustee, moved the Court pursuant to B.R. 7041

for an order of dismissal of the Complaint and the Counterclaim of Defendants on January 16,

2008 [Docket #18]. A pre-trial conference was held on January 14, 2008 pursuant to notice.

Trustee and Defendants Granata appeared by undersigned counsel. The parties have represented
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that an agreement has been reached to resolve the issues in this case. Based on the agreement of

the parties, it is hereby

        ORDERED,        that Plaintiff's Complaint and the Defendants' Answer and Counterclaim

filed October 10, 2007 should be and hereby are DISMISSED without prejudice; and it is further

        ORDERED, that Trustee give notice of his proposed abandonment of any claims of the

estate against any temporary employment agency hired by the Debtor or the Debtor in Possession

and use his best efforts to secure an assignment to Defendants of any claim of the Debtor or the

Debtor in Possession against BankOne, or its successors, based upon an alleged accounts

receivable, each without warranty by Trustee or Debtor of any kind.

        IT IS SO ORDERED.

Agreed and approved                           /s/ Larry J. McClatchey
                                             Larry J. McClatchey (0012191)
                                             Stuart H. Cupps        (0071504)
                                             KEGLER BROWN HILL & RITTER
                                             A Legal Professional Association
                                             65 East State Street, Suite 1800
                                             Columbus, Ohio 43215
                                             Telephone:      614/462-5400
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                                             lmcclatchey@keglerbrown.com

                                             Attorney for Trustee


                                              /s/ Adam J. Hubble per e-mail approval
                                             Adam J. Hubble         (0063301)
                                             Chorpenning Good & Pandora Co.LPA
                                             585 S Front St., Ste.250
                                             Columbus, OH 43215-5694
                                             Telephone:     614/469-1301
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                                             Ajhubble@cgmlpa.com

cc:     United States Trustee’s Office, 170 North High Street, Suite 200, Columbus, Ohio 43215
        Larry J. McClatchey, Trustee, 65 East State Street, Suite 1800, Columbus, Ohio 43215
        Adam J. Hubble, 585 S Front St., Ste.250, Columbus, OH 43215-5694

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